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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:
                                                              Case No: 8:19-bk-02054-CPM
Scott Curry                                                   Chapter 7
Faith Curry

DEBTORS                        /


         RESPONSE TO MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         Stephen L. Meininger, the Trustee in this case, by and through the undersigned counsel

objects to the relief requested in the Motion for Relief from the Automatic Stay (Dkt. No. 40)

(hereinafter the “Motion for Relief”) filed by Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper

(hereinafter “Mr. Cooper”) and in support thereof states as follows:

         1.     Mr. Cooper seeks to lift the stay with regard to a property located at 3649 12th

                Street North, Saint Petersburg, Florida 33704 (hereinafter “the Property”), to

                pursue its in rem remedies. After some online research, it appears that the Property

                is a viable asset of the estate and that upon sale could generate enough sale proceeds

                to create a meaningful distribution to the unsecured creditors of the estate.

         2.     The Trustee has already identified real estate professionals to help liquidate the

                Property as efficiently as possible and will be filing applications to employ these

                individuals shortly.

         3.     The Trustee opposes any relief wherein the Mr. Cooper is afforded to coordinate

                the turnover of the Property with the Debtor(s) so long as the Property remains

                property of the estate.

         WHEREFORE, The Trustee seeks an order denying Mr. Cooper’s Motion for Relief so
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that he may try to sell the Property for the benefit of all interested parties, and for any other relief

which this court deems just.

DATED: September 3, 2019

                                         /s/ Richard M. Dauval
                                        Richard M. Dauval, Esq.
                                        Attorney for the Trustee
                                        Leavengood, Dauval, & Boyle, P.A.
                                        3900 1st Street North, Saint Petersburg, FL 33703
                                        rdauval@leavenlaw.com

                                  CERTIFICATE OF SERVICE

       I certify that on September 3, 2019, a true and correct copy of the foregoing was provided
by U.S. mail and/or electronic delivery to: U.S. Trustee, USTPRegion21.TP.ecu@usdoj.gov;
Copies furnished to:
Trustee Stephen L Meininger 707 North Franklin Street Suite 850 Tampa, FL 33602
Mr. Cooper c/o Christopher Salamone, Esq., csalamone@rasflaw.com

                                         /s/ Richard M. Dauval
                                        Richard M. Dauval, Esq.
